Case 23-70173-JAD             Doc 30   Filed 07/31/23 Entered 07/31/23 09:28:27                  Desc Main
                                       Document     Page 1 of 6

                         IN THE UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF PENNSYLVANIA

In Re:                                                 :     Bankruptcy No. 23-70173-JAD
         Kimberly J. Reynolds,                         :
                                    Debtor             :     Chapter 13
                                                       :
         Kimberly J. Reynolds,                         :     Document No.
                                    Movant             :
                         v.                            :
                                                       :
         No Respondents                                :
                                    Respondent         :
                                                       :
         Ronda J. Winnecour, Esquire                   :
         Chapter 13 Trustee,                           :
                       Additional Respondent           :

          SETTLEMENT AND CERTIFICATION OF COUNSEL REGARDING
   ORDER AUTHORIZING DISTRIBUTIONS UNDER PLAN ON INTERIM BASIS SOLELY
                        AS ADEQUATE PROTECTION

The undersigned hereby certifies that agreement has been reached with the respondent(s) regarding the
Chapter 13 Plan filed on June 26, 2023.

The signature requirements of W.PA.LBR 5005-6 have been followed in obtaining the agreement of all
parties and is reflected in the attached document.

The undersigned further certifies that:

          An agreed order and a redline version showing the changes made to the order originally filed
           with the court as an attachment to the motion is attached to this Certificate of Counsel.
           Deletions are signified by a line in the middle of the original text (strikeout) and additions are
           signed by text in italics. It is respectfully requested that the attached order by entered by the
           Court.

          No other order has been filed pertaining to the subject matter of this agreement.

          The attached document does not require a proposed order.


Dated: July 31, 2023                                   By:    /s/ Kenneth P. Seitz, Esquire
                                                              Signature
                                                              Kenneth P. Seitz, Esquire
                                                              Typed Name
                                                              P.O. Box 211, Ligonier, PA 15658
                                                              Address
                                                              (814) 536-7470
                                                              Phone No.
                                                              81666 PA
                                                              Bar I.D. and State of Admission
PAWB Local Form 26 (06/17)
Case 23-70173-JAD        Doc 30    Filed 07/31/23 Entered 07/31/23 09:28:27             Desc Main
                                   Document     Page 2 of 6




                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                               )
 Kimberly J Reynolds                                  ) Case No. 23-70173-JAD
                                                      )
                                                      ) Chapter 13
                            Debtor(s).                )
 _______________________________________              X

                                     ORDER OF COURT
                                   (Check Boxes That Apply)

 ☐ Confirming Plan on Final Basis                  ☒ Chapter 13 Plan dated:
                                                   6/26/23

 ☒ Authorizing Distributions Under Plan ☐ Amended Chapter 13 dated:
 On Interim Basis Solely as Adequate ____________________________
 Protection


       IT IS HEREBY ORDERED that the Chapter 13 Plan Payment is $1,650 effective 7/1/23.

        IT IS HEREBY ORDERED that pursuant to the plan identified above (the “Plan”), as the
same may be modified by this Order, the Chapter 13 Trustee is authorized to make distributions to
creditors holding allowed claims from available funds on hand. Such distributions shall commence
no earlier than the Chapter 13 Trustee’s next available distribution date after the first day of the
month following the date on which this Order is entered on the Court’s docket.

        IT IS FURTHER ORDERED that those terms of the Plan which are not expressly modified
by this Order shall remain in full force and effect. To the extent any terms and conditions of the
Plan are in conflict with this Order, the terms of this Order shall supersede and replace any
conflicting terms and conditions of the Plan.

       1.     Unique Provisions Applicable Only to This Case: Only those provisions which
are checked below apply to this case:

       ☒       A. For the remainder of the Plan term, the periodic monthly Plan payment is
               amended to be $ beginning . To the extent there is no wage attachment in place or
               if an existing wage attachment is insufficient to fund the Plan payments, counsel to
               the Debtor(s) shall within seven (7) days hereof file a wage attachment motion (or
               motions) to fully fund the Plan payments, or shall sign up for and commence
               payments under the Trustee’s TFS online payment program.

                                                -1-
Case 23-70173-JAD    Doc 30    Filed 07/31/23 Entered 07/31/23 09:28:27               Desc Main
                               Document     Page 3 of 6




      ☐    B. The length of the Plan is changed to a total of at least ____months. This
           statement of duration of the Plan is an approximation. The Plan shall not be
           completed until the goals of the Plan have been achieved.

      ☒    C. To the extent this Order is entered as a form of adequate protection, the Trustee
           is authorized to distribute to secured and priority creditors with percentage fees
           payable to the Chapter 13 Trustee on receipt as provided for in 28 U.S.C. §586.
           Continued conciliation conferences before the Trustee or contested hearings
           before the Court shall proceed on such dates and times as appear on the case
           docket. The Trustee is deemed to have a continuous objection to the Plan until such
           time the Plan is confirmed on a final basis.

           PARTIES ARE REMINDED OF THEIR DUTY TO MONITOR THE COURT'S DOCKET AND
           ATTEND DULY SCHEDULED HEARINGS. THE PARTIES ARE FURTHER REMINDED OF
           THEIR DUTY TO MEET AND CONFER AND OTHERWISE ENGAGE IN GOOD FAITH
           SETTLEMENT NEGOTIATIONS WITH RESPECT TO ANY OBJECTION TO PLAN
           CONFIRMATION. FAILURE TO COMPLY WITH THESE DUTIES MAY RESULT IN THE
           IMPOSITION OF SANCTIONS AGAINST THE OFFENDING PARTY.


      ☐    D. Plan confirmation is subject to the resolution of all actions to determine the
           avoidability, priority, or extent of liens; including determination of the allowed
           amount of secured claims under 11 U.S.C. §506, disputes over the amount and
           allowance of claims entitled to priority under 11 U.S.C. §507, and all objections to
           claims.

      ☐    E. The allowed claims of general unsecured creditors shall be paid from available
           funds on a pro rata basis, which may represent an increase or decrease in the amount
           projected in the Plan.

      ☐    F. The following utility creditor __________________shall be paid monthly
           payments of $_________ beginning with the Trustee's next distribution and
           continuing for the duration of the Plan’s term, to be applied by that creditor to its
           administrative claim, ongoing budget payments and/or security deposit. These
           payments shall be at the third distribution level.

      ☐    G. The claims of the following creditors shall govern as to amount, classification
           and rate of interest (or as otherwise noted), unless the Debtor(s) successfully objects
           to the claim:
           _________________________________________________________________
      ☐    H. The secured claims of the following creditors shall govern as to claim amount,
           to be paid at the modified plan interest rate in a monthly amount to be determined
           by Trustee to pay the claim in full during the Plan term:
           _________________________________________________________________

                                             -2-
Case 23-70173-JAD         Doc 30    Filed 07/31/23 Entered 07/31/23 09:28:27                Desc Main
                                    Document     Page 4 of 6




       ☐       I. The secured claim(s) of the following creditors shall govern as to claim amount,
               to be paid at the indicated interest rate in a monthly amount to be determined by
               Trustee to pay in full during the Plan term:
               __________________________________________________________________

       ☐       J. The secured claim(s) of the following creditor(s) shall govern, following all
               allowed post-petition payment change notices filed of record:
               __________________________________________________________________

       ☒       K. Additional Terms and Conditions:
               • All plan payments must be by TFS, WA, or (where eligible) ACH. Trustee
                  reserves the right to reject money orders or cashier’s checks, provided further
                  that if she, in her discretion, presents such items for payments she may keep
                  the funds on hold for more than 30 days before distributing on such types of
                  payments. Debtors making payments by money order or cashier’s check
                  assume the risk that distributions under the plan will be delayed because of
                  the failure to pay by one of the approved methods.
               • M&T Bank Cl.#10 will not be paid through the plan as it is being paid outside.

       2. Deadlines. The following deadlines are hereby established and apply to this case:

       A.      Applications to retain brokers, sales agents, or other professionals. If the Plan
contemplates a sale or sales of assets or the recovery of litigation proceeds as a source of funding,
Debtor(s) shall file motion(s) to employ the necessary professionals within thirty (30) days hereof.

        B.       Review of Claims Docket and Objections to Claims. Pursuant to W.PA.LBR
3021−1(c)(2), the Debtor(s) (or Debtor(s)' attorney, if represented), shall review the proofs of
claim filed in this case and shall file objections (1) to any disputed timely filed claims within ninety
(90) days after the claims bar date, or (2) to any disputed late filed or amended claims within ninety
(90) days after the amended and/or late claims are filed and served. Absent a timely objection or
further order of the Court, the timely filed proof of claim will govern as to the classification and
amount of the claim; provided however, no creditor shall receive a distribution in this case until
such time as the relevant allowed claim is provided for in the Plan or any subsequent amended
plan.

        C.      Motions or Complaints Pursuant to §§506, 507 or 522. All actions to determine
the priority, avoidability, or extent of liens, and all actions pursuant to 11 U.S.C. §§506, 507 and
522 shall be filed within ninety (90) days after the claims bar date.

        D.     Filing Amended Plans or Other Stipulation. Within fourteen (14) days after the
Bankruptcy Court resolves the priority of a claim, avoidability of a lien or interest, or extent of a
lien, or any objection to claim, the Debtor(s) shall file an Amended Plan or Stipulated Order
Modifying Plan to provide for the allowed amount of the lien or claim if the allowed amount and/or

                                                  -3-
Case 23-70173-JAD         Doc 30    Filed 07/31/23 Entered 07/31/23 09:28:27                Desc Main
                                    Document     Page 5 of 6




treatment differs from the amount and/or treatment stated in the Plan. The Debtor(s) or Counsel
for Debtor(s) should inquire with the Chapter 13 Trustee regarding whether an Amended Plan or
proposed Stipulated Order Modifying Plan is the preferred course of action. In addition, if after
the conclusion of the claims bar date and any associated litigation, the Plan is underfunded,
Debtor(s) shall also file (1) an amended Plan increasing the monthly Plan payment, and (2) a
revised wage attachment to provide for the increased funding.

       3.      Additional Provisions. The following additional provisions apply in this case:

       A.      Any creditor who files or amends a proof of claim shall serve a copy on the
Debtor(s) or counsel for the Debtor(s).

        B.      The Trustee shall hold in reserve any distributions under the Plan to any creditor
who holds a claim that is provided for in the Plan but which is subject to a duly filed claims
objection. Upon entry of further order of the Court, or ultimate allowance of the disputed claim
provided for in the Plan, the Trustee may release the reserve and make distribution to the affected
creditor. Unless otherwise permitted by separate Order of Court, Trustee shall not commence
distributions to unsecured creditors until after the later of the government bar date and a filed notice
of an intention to pay claims (the later date being the “Earliest Unsecured Distribution Date”).
Trustee may, but has no obligation to, further defer distributions to unsecured creditors until a later
date after the Earliest Unsecured Distribution Date.

         C.    Any creditor whose payment changes due to variable interest rates, change in
escrow, or change in monthly payments, shall notify the Trustee, Debtor(s)' counsel and Debtor(s)
at least twenty−one (21) days prior to the change taking effect.

       D.      Debtor(s)' counsel must file a fee application in accordance with W.PA.LBR
2016−1 before attorney fees in excess of the "no look" provision (including retainer) will be
allowed or paid.

        E.      The Trustee shall file a Certificate of Default and Request for Dismissal of the case
in the event of a material Plan default.

        F.      In the event that any order is entered in this case granting relief from the automatic
stay to a secured creditor, then the Trustee shall make no further disbursements to any creditor on
account of any allowed secured claim (that is secured by the property subject to the relief from
stay order), unless otherwise directed by further Order of Court.

       G.      The Debtor(s) shall maintain all policies of insurance on all property of the
Debtor(s) and this estate as required by law and/or contract.

       H.      The Debtor(s) shall pay timely all post-confirmation tax liabilities directly to the
appropriate taxing authorities as they become due.


                                                  -4-
Case 23-70173-JAD        Doc 30    Filed 07/31/23 Entered 07/31/23 09:28:27    Desc Main
                                   Document     Page 6 of 6




Dated: ______________________
                                                       United States Bankruptcy Judge

cc: All Parties in Interest to be served by Clerk




                                                -5-
